

Matter of N.R. (Delilah W.) (2023 NY Slip Op 05047)





Matter of N.R. (Delilah W.)


2023 NY Slip Op 05047


Decided on October 05, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 05, 2023

Before: Manzanet-Daniels, J.P., Singh, Gesmer, Rodriguez, Rosado, JJ. 


Docket No. NN-5005/22, NN-5006/22 Appeal No. 717 Case No. 2023-00027 

[*1]In the Matter of N.R. and Another, Children Under Eighteen Years of Age, etc., Delilah W., Respondent-Appellant, Administration for Children's Services, Petitioner-Respondent.


Larry S. Bachner, New York, for appellant.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Karin Wolfe of counsel), for respondent.
Dawne A. Mitchell, The Legal Aid Society, New York ((Riti P. Singh of counsel), attorney for the children.



Appeal from order, Family Court, Bronx County (E. Grace Park, J.), entered on or about August 12, 2022, which, after a hearing, denied respondent mother's application pursuant to Family Court Act § 1028 for the return of the subject children, unanimously dismissed, without costs, as moot.
The mother's appeal from a denial of an application for a return of children removed due to the initiation of a Family Ct Act article 10 proceeding was rendered moot by a subsequent finding of neglect (see Matter of Quisbel D.P. [Digna D.P.], 199 AD3d 468, 469, [1st Dept 2021]; Matter of Corine G. [William G.], 135 AD3d 443, 444 [1st Dept 2016]). In any event, even assuming the issue is not moot, the evidence demonstrates that the denial of the mother's application was warranted under the circumstances (Matter of Corine G., 135 AD3d at 444).
We have considered the mother's remaining arguments and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 5, 2023








